 Case 1:18-cv-00464-RGA Document 18 Filed 10/11/18 Page 1 of 2 PageID #: 533




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


TAKEDA PHARMACEUTICALS U.S.A.,                    )
INC.,                                             )
                                                  )
               Plaintiff,                         )
                                                  )
               v.                                 )     C.A. No. 18-cv-464-RGA
                                                  )
ZYDUS PHARMACEUTICALS (USA) INC.                  )
and CADILA HEALTHCARE LIMITED                     )
                                                  )
               Defendants.                        )
                                                  )


STIPULATION AND DISMISSAL WITHOUT PREJUDICE AND [PROPOSED] ORDER

       WHEREAS Takeda Pharmaceuticals USA, Inc. and Defendants Zydus Pharmaceuticals

(USA) Inc. and Cadila Healthcare Limited have agreed to terms and conditions for a settlement

of this action and have set forth those terms and conditions in a settlement agreement;

       THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between the

parties, through their undersigned counsel of record:

       1.      This action, including all claims, counterclaims and affirmative defenses, is

voluntarily dismissed in its entirety without prejudice pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii);

       2.      This Court retains jurisdiction to enforce the settlement agreement and this Order;

and

       3.      Each party shall bear its own attorneys’ fees and costs.
 Case 1:18-cv-00464-RGA Document 18 Filed 10/11/18 Page 2 of 2 PageID #: 534



                                        Respectfully submitted,

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                                        P.A.
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Attorneys for Plaintiff
Takeda Pharmaceuticals USA, Inc.        Attorneys for Defendants Zydus Pharmaceuticals
                                        (USA) Inc. and Cadila Healthcare Limited


SO ORDERED this ____ day of _______________, 2018.


                                      ___________________________________
                                      United States District Judge
